        Case 2:20-cv-02038-CFK Document 9 Filed 05/19/20 Page 1 of 1




              IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JODI GILL, as representative and
                              :                    CIVIL ACTION
next friend of GLENN OSCAR GILL, a
                              :
Long Term Care Facility Resident, on his
                              :
behalf and on behalf of all other
                              :
similarly situated, et al.,   :
             Plaintiffs,      :
                              :
    v.                        :                    No. 20-2038
                              :
PENNSYLVANIA DEPT. OF HEALTH, :
        Defendant.            :

                                     ORDER

      AND NOW, this 19th day of May 2020, upon consideration of Plaintiffs’

Motion to Certify Class (ECF No. 7), it is hereby ORDERED that Plaintiffs’

Motion to Certify Class (ECF No. 7) is DENIED without prejudice to re-file after

Defendant has the opportunity to plead to the Amended Complaint and the Court

has the opportunity to issue a Scheduling Order after the parties have met and

conferred, pursuant to Rule 26(f) of the Federal Rules of Civil Procedure, and a

Rule 16 conference has been held.




                                                   BY THE COURT:

                                                    /s/ Chad F. Kenney
                                                   CHAD F. KENNEY, J.
